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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


 AKOLOUTHEO, LLC,
 Plaintiff,                                                CIVIL ACTION NO.: 4:20-cv-226

 v.                                                        JURY TRIAL DEMANDED
 INFORMATICA CORP.,
 Defendant.



                 PLAINTIFF’S CORPORATE DISCLOSURE STATEMENT


         Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned attorney of
record for Akoloutheo, LLC, certifies that no publicly held corporation owns 10% or more of its
stock.



                                                 Respectfully Submitted,
March 18, 2020
                                               By: /s/ Ronald W. Burns

                                                      Ronald W. Burns
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